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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  NETLIST, INC.,                                      §
                                                      §
                 Plaintiff,                           §
                                                      §
  v.                                                  §   CIVIL ACTION NO. 2:21-CV-00463-JRG
                                                      §
  SAMSUNG ELECTRONICS CO., LTD.,                      §                FILED UNDER SEAL
  SAMSUNG ELECTRONICS AMERICA,                        §
  INC., SAMSUNG SEMICONDUCTOR,                        §
  INC.,                                               §
                                                      §
                 Defendants.                          §

                    MEMORANDUM OPINION AND ORDER
          SUPPORTED BY FINDINGS OF FACT AND CONCLUSIONS OF LAW

        A bench trial was held on May 30, 2023, wherein the Court heard evidence and argument

 on Defendants Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung

 Semiconductor, Inc.’s (together, “Samsung”) equitable defenses of estoppel, prosecution laches,

 and unclean hands. (Dkt. No. 535.) The Court has considered the totality of the evidence presented

 at the jury trial, the bench trial, and in the written record, including the post-trial submissions from

 the parties (Dkt. Nos. 509, 511, 518, 519, 525). The Court now issues this opinion concerning

 Samsung’s equitable defenses supported by the following Findings of Fact (“FF”) and Conclusions

 of Law (“CL”) pursuant to Federal Rule of Civil Procedure 52(a)(1) and 52(c). In view thereof

 and as discussed herein, the Court rejects Samsung’s arguments as to equitable estoppel,

 prosecution laches, and unclean hands and finds that such do not bar enforceability of Plaintiff

 Netlist, Inc’s (“Netlist”) asserted patents, U.S. Patent Nos. 11,016,918 (the “’918 Patent”),

 11,232,054 (the “’054 Patent”), 10,949,339 (the “’339 Patent”). Specifically, the Court finds that
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     the ’918 and ’054 Patents are not unenforceable due to equitable estoppel, prosecution laches, and

     unclean hands. The Court finds that the ’339 Patent is not unenforceable due to unclean hands.

I.      FINDINGS OF FACT

        A. Procedural History

            [FF 1]      This is an action for patent infringement. On December 20, 2021, Netlist sued

     Samsung asserting the ’918 and ’339 Patents and U.S. Patent No. 10,860,506 (“the ’506 Patent”).

     (Dkt. 1.) On May 3, 2022, Netlist filed an Amended Complaint, adding infringement allegations

     based on U.S. Patent Nos. 11,232,054 (“the ’054 Patent”), 8,787,060 (“the ’060 Patent”), and

     9,318,160 (“the ’160 Patent”). (Dkt. No. 23.) Netlist accused Samsung’s DDR4 LRDIMM

     memory products of infringing the ’339 and ’506 Patents, DDR5 memory products of infringing

     the ’918 and ’054 Patents, and HBM memory products of infringing the ’160 and ’060 Patents.

     Netlist did not present any assertions relating to the ’506 Patent at the jury trial. Samsung did not

     raise any equitable defenses relating to the ’060 and ’160 Patents. Therefore, the patents at issue

     for Samsung’s equitable defenses are the ’339, ’918, and ’054 Patents.

            [FF 2]      On April 21, 2023, the jury returned a verdict that Samsung willfully infringed

     at least one asserted claim of the ’339 Patent and Netlist should be awarded $33,150,000.00 for

     such infringement; Samsung willfully infringed at least one asserted claim among the ’918 and

     ’054 Patents and Netlist should be awarded $147,225,000.00 for such infringement; Samsung

     willfully infringed at least one asserted claim among the ’060 and ’160 Patents and Netlist should

     be awarded $122,775,000.00 for such infringement; and none of the asserted claims is invalid.

     (Dkt. No. 479.)

            [FF 3]      Samsung alleges that Netlist is estopped from asserting the ’918 and ’054

     Patents based on Netlist’s failure to disclose them to the appropriate standards setting organization.

     (Dkt. No. 509 at 1–5.) Samsung also alleges that Netlist’s prosecution delay renders the ’918 and

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 ’054 Patents unenforceable. (Id. at 5–7.) Samsung further alleges that Netlist’s unclean hands

 bars its infringement claims as to the ’339, ’918, and ’054 Patents. (Id. at 7–10.)

       B. Equitable Estoppel

          [FF 4]    On December 30, 2020, Netlist filed U.S. Patent App. No. 17/138,766, which

 issued on May 25, 2021 as the asserted ’918 Patent. (JTX0003 (U.S. Patent No. 11,016,918) at

 1.)

          [FF 5]    On May 24, 2021, Netlist filed U.S. Patent App. No. 17/328,019, which issued

 on January 25, 2022 as the asserted ’054 Patent. (JTX0004 (U.S. Patent No. 11,232,054) at 1.)

 The ’054 Patent is a continuation of the ’918 Patent. (Id.)

          [FF 6]    The asserted ’918 and ’054 Patents claim priority through a series of

 applications to an original non-provisional application, U.S. Patent App. No. 12/131,873, which

 was filed on June 2, 2008, and to a provisional application, U.S. Provisional Patent App. No.

 60/941,586, which was filed on June 1, 2007. (Id. at 2.)

          [FF 7]    The Joint Electron Device Engineering Council (“JEDEC”) is a standards

 setting organization (“SSO”) that develops industry standards for dynamic random access memory

 (“DRAM”). (See Dkt. No. 537 (05/30/2023 Bench Trial Tr.) at 7:19–24 (Halbert).) Included

 among those standards are the DDR4, DDR5, and HBM DRAM standards at issue in this case.

 (Id. at 7:25–8:1 (Halbert).) JEDEC is organized into committees that work on various types of

 memory products, including the JC-40 committee responsible for developing logic devices used

 on DRAM dual in-line memory modules (“DIMMs”), the JC-42 committee responsible for

 developing DRAMs, and the JC-45 committee responsible for developing DIMMs. (Id. at 17:6–

 10 (Halbert).)

          [FF 8]    Netlist is a participating member of JEDEC. (See id. at 7:19–24 (Halbert),

 62:15–63:1 (Milton); see generally id. at 24:6–31:19 (Martinez).) Netlist first joined JEDEC in
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 2001. (DTX-10 at 96–97.) Netlist has been a participating member of JEDEC in various capacities

 since that time. (See Dkt. No. 537 at 1–15, 53–58, 62–97.)

        [FF 9]      Over time, numerous individuals have represented and submitted materials to

 JEDEC on behalf of Netlist. Those individuals have included Mario Martinez. (See DTX-14 at

 2; DTX-28 at 2). Mr. Martinez represented Netlist in the JC-40, JC42, and JC-45 committees at

 relevant times. (Dkt. No. 537 at 62:15–21 (Milton), 28:13–17 (Martinez).)

        [FF 10]     Netlist was restricted from participating in JEDEC during two periods of time.

 The first time occurred in 2011 when Netlist refused to license certain of its patents on RAND

 licensing terms to certain JEDEC committees. (Dkt. No. 537 at 15:25–17:5 (Halbert).) The second

 was from February 2015 through August 2018, when Netlist again refused to offer certain of its

 patents on RAND licensing terms. (Id. at 27:11-28:21 (Martinez); DTX-10 at 16.)

        [FF 11]     Netlist has been a participating member in JEDEC, including the JC-40, JC-42,

 and JC-45 committees, since returning to JEDEC in August 2018. (See DTX-10 at 1-16.)

        [FF 12]     Netlist was a participating member of JEDEC at the time of filing and

 prosecuting the applications that led to the asserted ’918 and ’054 Patents in this case. (Id.; Dkt.

 No. 537 at 82:24-83:6 (McAlexander).)

        [FF 13]     JEDEC policies are set out in the JEDEC Manual of Organization and

 Procedure, referred to as JEDEC Patent Policy, JM21. (Id. at 9:8-12 (Halbert); PX1067 (JM21U);

 DTX-02 (JM21S): DTX-08 (JM21T).) JM21 is periodically revised; however, the parties did not

 identify any differences between versions relevant to the issues in this case.

        [FF 14]     The JEDEC Manual of Organization and Procedure, JM21, contains a Patent

 Policy setting forth member companies’ duties to disclose Potentially Essential Patents as defined

 by JEDEC, and to offer Essential Patents as defined in JM21 on reasonable and non-discriminatory



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 (“RAND”) licensing terms. (DTX-02 (JM21S); DTX-08 (JM21T); see also Dkt. No. 537 at 9:17–

 10:5 (Halbert), 10:19–25 (Halbert), 24:6–24 (Martinez), 82:19–23 (McAlexander), 142:13–143:5

 (Gillingham).)

        [FF 15]      Section 8.2.3 of JM21 establishes a duty of disclosure for potentially essential

 patents:

                  8.2.3 Disclosure of Potentially Essential Patents

                  At each committee meeting, the chairperson should call to the
                  attention of all those present the requirements contained in the
                  JEDEC Legal Guides and the obligation of all Representatives to
                  inform the committee of any personal knowledge they have of any
                  Potentially Essential Patents that are owned or controlled by that
                  Committee Member and to call for the Disclosure of Potentially
                  Essential Patents by Representatives.        Annex A provides
                  information to be displayed at the beginning of the committee
                  meeting to satisfy the requirement.             Additionally, all
                  Representatives should be asked to read the statement attached to
                  each JEDEC sign-in/attendance roster; see Annex A for patent
                  policy application guidelines.

                  All Committee Members must Disclose Potentially Essential
                  Patents, known to their Representative(s) to be Potentially Essential
                  Patents that are owned or controlled by that Committee Member to
                  the personal knowledge of the Representatives. However, neither
                  Committee Members nor Representatives shall have any obligation
                  to conduct a search for Potentially Essential Patents.

                  Disclosure of Potentially Essential Patents by a Representative or
                  the Committee Member being represented shall be made as early as
                  reasonably possible. The Disclosure of Potentially Essential Patents
                  shall be in accordance with the definition of Disclosure of
                  Potentially Essential Patents, see 8.2.1. Initial disclosure by a
                  Committee Member or Representative may be made in a meeting of
                  the committee or task group. The Representative is responsible for
                  ensuring that such disclosure is properly recorded in the meeting
                  minutes.

                  The Representative or Committee Member shall document all
                  known Potentially Essential Patents in either: a) License
                  Assurance/Disclosure Forms, see Annex A.3, or b) Notice of
                  Refusal to offer Licenses on RAND Terms forms, see Annex A.4.
                  Such disclosures or notices of known Potentially Essential Patents

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                  shall be delivered to the JEDEC Legal Department within thirty (30)
                  calendar days of Approval by the Committee in order to be effective.

 (DTX-08 at 33-34; Dkt. No. 537 at 10:19–11:4 (Halbert), 11:24–13:5 (Halbert), 142:13–143:21

 (Gillingham).)

        [FF 16]      The “Representative” is “an individual nominated by the member company to

 represent the member company on the committee.” (Dkt. No. 537 at 150:25-151:3 (Gillingham);

 JM21 § 8.2.1 (PX1067 at 0032) (defining “Representative” as “An individual who represents a

 Committee Member.”).)

        [FF 17]      A “Potentially Essential Patent” is “[a] Patent that is reasonably believed by a

 subject person to contain one or more Essential Patent Claims.” (DTX-08 at 31; Dkt. No. 537 at

 10:6–10.) The JM21 defines “Patents” to include “[a]ll classes or types of patents other than design

 patents (including, without limitation, originals, divisions, continuations, continuations-in-part,

 extensions or reissues), and applications for these classes or types of patents throughout the world.”

 (DTX-08 at 31.) Thus, the disclosure obligation extends to not only issued patents, but also

 pending patent applications. (Id.) “Essential Patent Claims” are “[t]hose Patent claims the use of

 which would necessarily be infringed by the use, sale, offer for sale or other disposition of a portion

 of a product in order to be compliant with the required portions of a final approved JEDEC

 Standard.” (Id.)

        [FF 18]      JEDEC Patent Policy automatically takes RAND rights to all patents that

 contain Essential Patent Claims for a Standard generated by a committee on which a Committee

 Member is a member, regardless of disclosure. PX1067 recites, at 0034:

                  Subject to the terms and conditions of section 8.2.4, each Committee
                  Member, as a condition of Participation, agrees to offer to license
                  on RAND terms, to all Potential Licensees, such Committee
                  Member’s Essential Patent Claims for the use, sale, offer for sale or
                  other disposition of a portion of a product in order to be compliant
                  with the required portions of a final approved JEDEC Standard
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                issued during the period of membership in that committee. The
                licensing commitment does not apply to Essential Patents of a
                Committee Member where notice of a Refusal to License has been
                given by the Committee Member in accordance with 8.2.3.1.

 (See also JM21 at § 8.2.5 (PX1067 at 0035) (“If a Committee Member, at its discretion, elects

 not to submit a License Assurance/Disclosure Form (see Annex A.3) at or before the time the

 ballot closes and does not otherwise provide notice of an unwillingness to license in accordance

 with 8.2.3.1, the Committee Member and its Affiliates will be deemed to have agreed to offer to

 grant licenses on RAND terms and conditions for all of its Essential Patent Claims of the balloted

 Standard, if and as consistent with 8.2.4.”).

        [FF 19]     Samsung’s 30(b)(6) corporate representative regarding its participation in

 JEDEC, Mr. Hyun-Joong Kim, testified that he believed JEDEC’s patent disclosures are

 recommended rather than a mandatory obligation:

                Q. You are here to testify on behalf of Samsung regarding
                Samsung’s application at JEDEC and Samsung’s patents. Correct?

                A. Yes, that’s correct.

                Q. So is Samsung required to declare its patents that -- making
                (unintelligible) of the voltage regulation onboard feature?

                A. My understanding is that JEDEC recommends disclosure, but it’s
                not a mandatory obligation.

 (Dkt. No. 537 at 124:23–125:11.)

        [FF 20]     Both parties’ witnesses acknowledged that there is no obligation for the

 Representative to search for potentially essential patents. (Dkt. No. 537 at 11:24–12:2 (Halbert),

 151:15–18 (Gillingham).)

        [FF 21]     Mr. Martinez testified that he did not have personal knowledge of any patents

 that were essential to JEDEC standards. (Dkt. No. 537 at 30:23–31:6 (Martinez).)



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        [FF 22]     Neither party in this case asserted that any of the Asserted Patents is essential.

 (See, e.g., Dkt. No. 426 at 142:23–25, 192:22–24.)

        [FF 23]     With respect to the ’918 and ’054 Patents, no evidence was presented that Mr.

 Martinez (1) had personal knowledge of the ’918 and ’054 Patents and believed they contained

 Potentially Essential Patent Claims, and (2) knowingly failed to disclose them to the JEDEC JC-

 40 committee.

        [FF 24]     The Court finds that Samsung has not proven by clear and convincing evidence

 that Netlist violated any JEDEC disclosure duty as to the ’918 or ’054 Patents. The duty of

 disclosure is specific to Representatives, i.e., the individual who represents the company at JEDEC

 meetings, and is limited to potentially essential patents of which the representative has personal

 knowledge. (JM21 at § 8.2.3 (PX1067 at 0033) (“All Committee Members must Disclose

 Potentially Essential Patents, known to their Representative(s) to be Potentially Essential Patents

 that are owned or controlled by that Committee Member to the personal knowledge of the

 Representatives.”); Dkt. No. 537 at 151:8–14 (Gillingham) (“Q. Who is the actual person under

 the JEDEC policy responsible for disclosure of patents? A. The person responsible is the

 representative who attends the meetings. Q. What patents is a representative required to disclose?

 A. The representative who attends the meetings is required to disclose patents to which he or she

 has personal knowledge.”).

        [FF 25]     There is no obligation by the Representative to search for potentially essential

 patents. (JM21 at § 8.2.3 (PX1067 at 0033) (“[N]either Committee Members nor Representatives

 shall have any obligation to conduct a search for Potentially Essential Patents.”); Dkt. No. 527 at

 11:24–12:2 (Halbert) (“Q. Now, is there an obligation for member companies to go out and

 actively search for patents? A. No, there’s no obligation. In fact, it states there’s no obligation to



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 search for patents”); id. at 151:15–18 (Gillingham) (“Q. And under the JEDEC policy, do

 committee members or representatives have an obligation to search for potentially essential

 patents? A. No, there’s no obligation to search.”).)

        [FF 26]     Netlist’s JEDEC representative for the committee that developed the DDR5

 PMIC Specifications (JC-40) is Mario Martinez. (Dkt. No. 537 at 62:15–21 (Milton) (“Q. And we

 heard testimony from Mr. Mario Martinez earlier. Right? A. Yes, sir. . . . Q. And he is the Netlist

 representative at JEDEC. Correct? A. He represents Netlist as a member company, yes.”), id. at

 29:6–19. Mr. Martinez was also Netlist’s representative for JC-42 and JC-45 committees. (Id. at

 28:3–17.)

        [FF 27]     Mr. Martinez testified that he did not have personal knowledge of any essential

 patents. (Id. at 30:23–31:6 (Martinez) (“Q. So is it your testimony now that you personally have

 personal knowledge about which patents are essential to the JEDEC standards? A. No, I do not

 have personal knowledge. I just know that our patents are based on products which can cover

 multiple areas. And per the JEDEC discussions at the board level, those patents can read on

 multiple technologies going forward. So I’m basing my comment on JEDEC portfolio board of

 director comments.”).

    C. Prosecution Laches

        [FF 28]     The ’918 and ’054 Patents both claim priority to U.S. Provisional Patent App.

 No. 60/941,586 (the “’586 provisional application”), which was filed on June 1, 2007. (JTX0004

 at 1–2.) The first non-provisional utility application that the ’918 and ’054 patents claim priority

 to is U.S. Patent App. No. 12/131,873 (the “’873 application”), filed on June 2, 2008. (See

 JTX0003; JTX0004.) The ’873 application was expressly abandoned by Netlist on October 30,

 2008 and did not issue as a patent. (JTX0004.)



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        [FF 29]     Between September 2008 and 2022, Netlist prosecuted several applications in

 the patent family of the ’918 and ’054 Patents.

        [FF 30]     On September 29, 2008, Netlist filed U.S. Patent App. No. 12/240,916 (“the

 ’916 application”), which was a continuation of the ’873 application. (Id.) The ’916 application

 issued as U.S. Patent No. 8,301,833. (Id.)

        [FF 31]     During prosecution of the ’916 application, on March 31, 2011, the U.S. Patent

 and Trademark Office (“PTO”) issued a restriction requirement requiring Netlist to elect a subset

 of its originally filed claims for prosecution. (PX1816 at 118–24.) The PTO identified claims

 drawn to “a non-volatile and a volatile memory systems [sic],” “a power module for a volatile and

 non-volatile memory including a voltage conversion element,” “non-volatile and a volatile

 memory systems [sic] wherein the memory systems operate at different frequencies depending on

 the mode of operation,” and methods of “restoring data” as being drawn to distinct inventions.

 (PX1816 at 120.) On May 20, 2011, Netlist elected to first prosecute Group III in the ’916

 application. (Id. at 142.)

        [FF 32]     On July 26, 2012, Netlist filed U.S. Patent App. No. 13/559,476 (the “’476

 application”), which was a continuation of the ’916 application. (JTX0004.) The ’476 application

 issued as U.S. Patent No. 8,874,831. (Id.)

        [FF 33]     On September 17, 2014, Netlist filed U.S. Patent App. No. 14/489,269 (the

 “’269 application”), which was a continuation of the ’476 application. (Id.) The ’269 application

 issued as U.S. Patent No. 9,158,684. (Id.)

        [FF 34]     On August 31, 2015, Netlist filed U.S. Patent App. No. 14/840,865 (the “’865

 application”), which was a continuation of the ’269 application. (Id.) The ’865 application issued

 as U.S. Patent No. 9,928,186. (Id.)



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        [FF 35]     On March 23, 2018, Netlist filed U.S. Patent App. No. 15/934,416 (the “’416

 application”), which was a continuation of the ’865 application. (Id.) The ’416 application was

 abandoned and did not issue as a patent. (Id.)

        [FF 36]     On December 30, 2020, Netlist filed U.S. Patent App. No. 17/138,766 (the

 “’766 application”), which was a continuation of the ’416 application. (Id.) The ’766 application

 issued as the ’918 Patent. (Id.)

        [FF 37]     On May 24, 2021, Netlist filed U.S. Patent App. No. 17/328,019 (the “’019

 application”), which was a continuation of the ’766 application. (Id.) The ’019 application issued

 as the ’054 Patent. (Id.)

        [FF 38]     From the first utility application (the ’873 application) through the originally

 filed ’416 application, the applications in the ’918 and ’054 Patent family contained claims that

 recited hybrid memory—that is, a combination of volatile and non-volatile memory. (Dkt. No.

 537 at 91:11–22 (McAlexander).)

        [FF 39]     Mr. Scott Milton, a named inventor of the ’918 and ’054 Patent family, testified

 at the jury trial that the patent family of the ’918 and ’054 Patents related to hybrid memory, which

 includes the concept of combining volatile memory (e.g., DRAM) and non-volatile memory (e.g.,

 flash memory) together on a single memory module. (Dkt. No. 487 at 244:19–247:24.)

        [FF 40]     Mr. Milton also testified that Netlist developed on-module power management

 initially used for non-volatile DIMM (“NVDIMM”) products, but at the time of trial, Netlist was

 using it in DDR5 DIMMs. (See id. at 204:8–11.)

        [FF 41]     Mr. Milton further testified that Netlist designed and was in the process of

 launching a DDR5 module with on-module power management. (Id. at 231:12–232:2.)




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        [FF 42]       Netlist sought expedited examination of the applications that led to the ’918 and

 ’054 Patents (the ’776 and ’019 applications, respectively). (See JTX0021 at 113, 138; JTX0045

 at 2.) Both patents issued within a year after the applications were filed. (JTX0003 at 1; JTX0004

 at 1.) Although some applications in the ’918 and ’054 Patent family were abandoned, Netlist did

 not, for example, engage in a practice of serial abandonment of applications to extend the life of

 the patent family.

        [FF 43]       Netlist’s expert witness, Dr. William Mangione-Smith, testified that Netlist’s

 filing of continuation patents is a common practice:

                Q. And can you explain how the continuation process works?

                A. Sure. So basically what happens, as I understand it, I’m not an
                attorney, is an inventor or a company will file a patent application.
                And the Patent Office will come back and say, we’re applying
                restrictions, which means, we think there’s two sets of related -- of
                unrelated inventions, there’s two sets of inventions that should be
                continued independently.

                And so a company will say, okay, we’ll immediately continue with
                set A, and we’ll follow up with set B as a continuation.

                ...

                Q. So in your experience continuations are common practice.

                A. They are very common, yes.

 (Dkt. No. 488 at 322:5–15, 324:1–3.)

        [FF 44]       Dr. Mangione-Smith also explained that Samsung took a similar approach in

 filing continuation patents to their original provisional applications:

                Q. Now, does Samsung use the continuation process?

                A. Sure.

                Q. Could you show us some examples?

                A. I’d be happy to. I no longer appear to have control of the slides.


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                Here is the ’509 Patent from Samsung, and you’ll see that I’ve
                highlighted that this was a number of different continuations. And,
                in fact, from when they first filed their application until that ’509
                Patent issued, it covered 16 years.

                Q. Any other examples?

                A. Indeed. If we flip forward. . . . This is the ’894 Patent. You’ll
                see it also is a continuation of a set of continuations. And, in fact,
                since the original application was filed for this patent until the ’894
                issued, it spanned 14 years. Here’s the ’700 Patent, which, again,
                was a continuation. And from the time the original patent was filed
                until that patent issued, it spanned 13 years.

 (Id. at 323:2–25.)

        [FF 45]       Netlist was restricted from participating in JEDEC from February 2015 through

 August 2018, when Netlist refused to offer certain of its patents on RAND licensing terms. (DTX-

 10 at 16; Dkt. No. 537 at 27:11–28:21 (Martinez).) Netlist’s membership in the JC-40, JC-42, and

 JC-45 committees was reinstated in August 2018 when it issued notices of willingness to license

 the same patents that it previously refused to license, retroactive to 2015. (DTX-10 at 16; Dkt.

 No. 537 at 15:19–17:25 (Halbert).)

        [FF 46]       The members of JEDEC, including Samsung, were developing standards for

 DDR5 DIMM technology since 2016, and work on the DDR5 standards was underway in August

 2018, when Netlist’s JEDEC membership was reinstated. (Dkt. No. 537 at 15:25–16:8, 17:11–25

 (Halbert).)

        [FF 47]       Approximately four months after filing the ’416 application in July 2018, and

 after Netlist’s JEDEC membership was reinstated, Netlist’s representative Mario Martinez

 attended a JC-40 JEDEC committee meeting in December 2018. (DTX-33 at 2.)

                Q. Have you attended any JEDEC meetings where DDR5 was
                discussed?

                A. I’ve attended JEDEC meetings that discussed DDR5, yes.


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               Q. When did you start attending meetings where DDR5 was being
               developed or discussed?

               A. I believe it was upon my return in August, the first meeting after
               our -- when we were -- our membership was renewed back in
               August.

               Q. After 2019, did you continue to attend JEDEC meetings
               involving DDR5?

               A. Upon my return in August, I continued to attend committee
               sessions which had discussions on DDR5.

               Q. Including in this year, 2022?

               A. Up to today.

 (Dkt. No. 537 at 29:6-19 (Martinez).)

        [FF 48]    One of the presentations made at the December 2018 meeting was the proposed

 full specification of the DDR5 PMIC5000. (DTX-33 at 21–22.) Mr. Martinez attended two

 additional JEDEC meetings in March 2019 and June 2019 where the full PMIC specification was

 again presented. (DTX-14 at 2, 15; DTX-34 at 2, 13.)

        [FF 49]    The PMIC is the DDR5 module’s on-board Power Management Integrated

 Circuit, which provides power and control to the various components of the memory module. (Dkt.

 No. 492 at 884:19–24 (McAlexander); see also Dkt. No. 490 at 636:24–25 (Jung Bae Lee) (“Q.

 DDR5 has power management control on the module? A. Yes, and it has the name of PMIC.”).)

        [FF 50]    Samsung’s technical expert, Mr. McAlexander, testified that Samsung’s DDR5

 standard compliant memory modules do not include hybrid memory:

               Q. What are you showing here, sir?

               A. What I’m showing here is a[n] outline of a DDR5 Samsung
               product that’s been accused of infringing the ’918 Patent.

               Q. And what are you labeling in red there?

               A. What I’m labeling in red here is the different black components
               that you see that are populated on this particular module, and the

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                only components that are there for storage of information, data, is
                the DRAM.

                Q. Are there any flash chips on the DDR5 modules?

                A. No, there are no flash chips on the DDR5 module.

                Q. And what are you showing here on DDX 3-30?

                A. What I’m showing here is an additional component that's on the
                module, DRAM-only module, that is called the PMIC, or the power
                management integrated circuit, and that is a smaller little black
                rectangular box more located toward the center of the module.

 (Dkt. No. 492 at 883:24–884:14 (McAlexander).)

        [FF 51]     After attending the JEDEC meetings where the DDR5 PMIC standard was

 disclosed, Netlist filed an amendment to the’416 application on July 22, 2019. (JTX0050 at 213–

 219.) The amendment canceled the previous claims that recited hybrid memory, and introduced

 new claims that no longer recited hybrid memory. (Id. at 214; see also Dkt. No. 537 at 91:23–

 92:6 (McAlexander).) Mr. McAlexander testified that the July 22, 2019 amendment was the first

 time to introduce a claim in this patent family that did not recite hybrid memory. (Dkt. No. 537 at

 91:7–92:6 (McAlexander).)

        [FF 52]     The ’416 application was ultimately abandoned (JTX0050 at 418–19), but prior

 to that, Netlist filed the ’766 application as a continuation of the ’416 application on December 30,

 2020. (JTX0003.) The ’766 application issued as the ’918 patent. (Id.) Like the amended claims

 of the ’416 application, the claims of the ’918 patent do not recite hybrid memory. (Id; see also

 Dkt. No. 537 at 92:7–11 (McAlexander).) The claims of the continuation of the ’918 patent, which

 was filed on May 24, 2021 and issued as the ’054 patent, also do not recite hybrid memory.

 (JTX0004; see also Dkt. No. 537 at 92:12–13 (McAlexander).)

        [FF 53]     During the jury trial, Samsung argued that the ’918 and ’054 Patents are invalid

 for lack of written description because the claims departed from the essential elements of the

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 invention as described in the specification.      For example, Samsung’s expert witness, Mr.

 McAlexander testified:

               Q. Now, do you also have an opinion as to whether the ‘918 and
               ‘054 Patent claims are invalid for failing to satisfy written
               description?

               A. Yes, I do.

               Q. What is that opinion?

               A. I’ve looked at the entirety of the specification in the claims, and
               I’ve come to the conclusion that the written description for the ‘918
               and ‘054 Patents, which I’m talking about the text and the
               illustrations, do not support the asserted claims. I’ve identified three
               reasons. One is the claims fail to require the flash DRAM hybrid
               structure as a memory module. Secondly, the claims fail to require
               data transfer between the flash and the DRAM memory module --
               memory devices on that module. And, third, the claims fail to
               require backing up the data between the flash and the DRAM, which
               is the focus of the intent of the specification.

               Q. Going back to the ’918 and ’054 title of the patents, what does
               the title tell you about what was described in the ’918 and ’054
               patents?

               A. Both patents are directed to a hybrid memory module that
               includes both flash and DRAM on that module.

               Q. Do any of the claims that are asserted in this claim, do they
               require flash?

               A. None of them do.

 (Dkt. No. 492 at 899:7–900:6 (McAlexander).)

               Q. Now, we heard that the ’918 and ’054 Patents are continuation
               patents?

               A. Yes, that’s correct.

               Q. Do you have continuation patents yourself?

               A. Oh, yes.

               Q. Is that an okay thing to do?


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               A. Yes.

               Q. But are there limits?

               A. Yes. Still have to stay true to the invention.

               Q. And what do you mean by that?

               A. What I mean is, is that when you originally file in 2007 in this
               case the provisional application and the continuations, you have to
               maintain the specification on a continuation, and what you change
               then is the claims that are directed to that. But it still has to fall
               within the scope of what is -- what the patent is about.

               Q. And if the claims that no longer match up with the specification,
               would those claims be valid or invalid?

               A. Invalid.

 (Id. at 906:15–907:8 (McAlexander).)

               Q. So ultimately what is your conclusion then as to why the ’918
               and ’054 Patent claims have no support in the patents and therefore
               are invalid?

               A. Well, as I said in my testimony earlier, I said there were three
               particularly primary fundamental aspects that the written description
               is directed to. I did my evaluation, and my conclusions confirm that
               initial thought. And the statements are: the claims are invalid
               because they fail to require the flash-DRAM hybrid structure, the
               claims are invalid because they fail to require data transfer between
               flash and DRAM memory devices, and the claims are invalid
               because they do not require backing up data between flash and
               DRAM.

 (Id. at 908:20–909:7 (McAlexander).)

        [FF 54]   Samsung made similar arguments in its summation:

               And we know that they filed continuation after continuation. And
               there’s nothing wrong with continuation practice. I tried to make
               that clear in my opening that that’s allowed under the rules. What
               you can’t do, what you can’t do, is keep filing these continuations
               and take the patent further and further and further away from what
               you actually told the Patent Office, that you wrote down in your
               written description. Because when you do that, ladies and
               gentlemen, the patent is invalid.


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                  And here we see there was over 13, almost 14 years between the
                  time that they filed that initial disclosure and the -- the first -- the
                  ’918 Patent issued.

 (Dkt. No. 496 at 1350:3–14.)

        [FF 55]      The jury rejected Samsung’s arguments concerning written description, finding

 that none of the asserted claims of the ’918 and ’054 Patents were invalid. (Dkt. No. 479 at 5.)

    D. Unclean Hands

        [FF 56]      At the outset of this litigation, in its December 20, 2021 complaint, Netlist

 accused Samsung’s “JEDEC-standard compliant memory modules” of infringing the ’918, ’054,

 and ’339 Patents. (Dkt. No. 537 at 48:19–49:13 (Milton); Dkt. No. 1 at ¶ 38.) Netlist relied on

 the JEDEC standards to allege infringement. (Dkt. No. 1 ¶¶ 61, 72.)

        [FF 57]      In its May 3, 2022 amended complaint, Netlist continued to rely on the JEDEC

 standards to allege infringement of the patents. (Dkt. No. 537 at 50:12–51:1 (Milton); Dkt. No.

 23 ¶¶ 87, 97.)

        [FF 58]      In its May 4, 2022 infringement contentions, Netlist accused JEDEC standard-

 compliant memory modules of infringing the asserted patents. (Dkt. No. 537 at 74:7–18, 93:7–15

 (McAlexander).)

        [FF 59]      On June 8, 2022, Netlist sent a letter to Samsung proposing to license its

 “patents that are essential to implement JEDEC standards for DDR4 LRDIMMs (the ‘DDR4

 LRDIMM Patents’)” on FRAND terms. (DTX-32 at 2; Dkt. No. 537 at 57:8–20 (Milton).) Netlist

 expressly identified the ’339 patent as one of the DDR4 LRDIMM Patents that is essential to

 implement JEDEC standards. (DTX-32 at 8; Dkt. No. 537 at 57:21–58:10 (Milton).)

        [FF 60]      Samsung, in response, disputed that any of Netlist’s patents were essential,

 noting “Netlist has never obtained a final ruling that it has a valid patent claim that is essential to

 any JEDEC standard.” (PTX1821 at 1–3.)

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        [FF 61]     In an interrogatory response dated July 11, 2022, Samsung apparently took no

 position on the essentiality of Netlist’s patents, instead asserting that Netlist had failed to prove

 essentiality. (Dkt. No. 537 at 132:14–25 (“Netlist has not shown that any of the asserted claims

 are essential to any JEDEC standard identified in Netlist’s infringement contentions. Indeed,

 although Netlist has declared other patents essential to various JEDEC standards, Samsung is not

 aware of Netlist ever declaring any of the asserted patents in this case essential to a JEDEC

 standard.”).)

        [FF 62]     On November 10, 2022, Samsung supplemented its response to affirmatively

 contend that the patents were not essential. (Id. at 133:1–6 (“Netlist has not shown that any of the

 asserted claims are essential to any JEDEC standard identified in Netlist’s infringement

 contentions.    Samsung disagrees that any claim is essential to any JEDEC standard, and

 incorporates its response to Interrogatory No. 1.”).)

        [FF 63]     Netlist stated on November 21, 2022, in its first supplemental interrogatory

 response to Samsung’s Interrogatory 15 that the claims of the ’339, ’918, and ’054 Patents were

 necessarily infringed by Samsung’s JEDEC compliant devices, and that the asserted claims of such

 patents were “essential patent claims” as defined by JEDEC:

                 JEDEC manual No. 21T, Section 8.2.1, defines the term quote
                 “[E]ssential [P]atent [C]laims” as “Those patent claims, the use of
                 which would necessarily be infringed by the use, sale, offer for sale,
                 or other disposition of a portion of a product in order to be compliant
                 with the required portions of a final approved JEDEC standard.”

                 Netlist’s asserted claims of U.S. patent Nos. 10,860,506, the ’506
                 Patent, 10,949,339, the ’339 Patent, 11,016,918, the ’918 Patent, and
                 11,232,054, the ’054 Patent, are necessarily infringed by the use,
                 sale, offer for sale, or other disposition of a DDR4 LRDIMMs and
                 DDR5 LRDIMMs and RDIMMs that are in compliance with the
                 specifications of JEDEC standards and subsequent revisions
                 identified in Netlist’s preliminary infringement contentions and
                 supplemental infringement contentions, which are incorporated here
                 by reference.
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                ...

                Thus, Netlist’s asserted claims of the four patents are “[E]ssential
                [P]atent [C]laims” as defined by JEDEC manual No. 21T, Section
                8.2.1.

 (Dkt. No. 537 at 43:8–44:9.)

        [FF 64]       Netlist’s Second Supplemental Interrogatory Responses, served on December

 19, 2022, stated as follows:

                Based on subsequent confidential deposition testimony of Samsung
                witnesses, the necessity of using Netlist patents is a commercial
                necessity for the sale of Samsung’s accused infringing products. As
                to whether there’s a theoretical way of implementing the standards
                without using Netlist patents, that is irrelevant in this case because
                the objective evidence demonstrates that Samsung infringes.

                Furthermore, Samsung does not claim that the patents are necessary
                for practicing the standard, which means its infringement
                involuntary and, thus, its culpability cemented [verbatim].

 (Id. at 44:14–24.)

        [FF 65]       The JEDEC Patent Policy (JM21T) states as follows:

                Essential Patent Claims: Those Patent claims the use of which would
                necessarily be infringed by the use, sale, offer for sale or other
                disposition of a portion of a product in order to be compliant with
                the required portions of a final approved JEDEC Standard.

                NOTE Essential Patent Claims do not include Patent claims
                covering aspects that are not required to comply with a JEDEC
                Standard, or are required only for compliance with sections that are
                marked “example,” “non-normative,” or otherwise indicated as not
                being required for compliance

 (DTX-08 at 31.)

        [FF 66]       At the bench trial, Samsung’s JEDEC expert, Mr. Halbert, testified that just

 because an infringing product is standard compliant does not mean that the patent claim is

 necessarily essential. This is because JEDEC allows for product differentiation between suppliers,

 and there are different ways of implementing the standard:

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                Q. This is paragraph 41 for your report. You wrote in your report,
                “Because standards are drafted somewhat broadly to allow
                individuals and companies in the industry to develop their own
                standard compliant solutions, i.e., to allow for product
                differentiation between suppliers, a patent may be infringed by some
                implementations of the standard and not others. In that case, the
                patent would not be a potentially essential patent as defined by
                JEDEC.” Did you write that in your report?

                A. I did.

 (Dkt. No. 537 at 22:15–24 (Halbert).)

        [FF 67]     Netlist’s JEDEC expert, Mr. Gillingham testified that “[a]n essential patent

 claim are those claims which would necessarily be infringed by a product that is compliant with

 required portions of an approved JEDEC standard. So it would not include optional portions of a

 standard or examples or reference designs, for example.” (Id. at 136:22–137:3 (Gillingham).)

        [FF 68]     Netlist’s corporate representative, Mr. Scott Milton, testified at the bench trial

 that the ’918, ’054, and ’339 patents are “essential,” “in ordinary use of the of the word ‘essential.’”

 (Id. at 52:5–13, 53:5–54:11 (Milton).)

        [FF 69]     Mr. Milton also testified in a deposition during discovery that he believed the

 ’339, ’918, and ’054 patents were essential in the “ordinary” sense of the word. At this deposition,

 Mr. Milton stated he had not performed a technical analysis comparing the claims to the required

 portions of the JEDEC standards:

                Q. (BY MR. SHEASBY) Mr. Cordell showed you part of your
                deposition and he didn’t show you all of it, and I wanted to show
                you another portion of it. So this is the page before he showed where
                the question is, “Is the ’918 Patent essential to any standard?”

                Answer: “So how -- how is the word ‘essential’ being defined?”

                Question: “So how do you define ‘essential’ here?

                “Well, I guess I’m asking is it a legal term or its ordinary use?”



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                Question: “Okay. It’s ordinary use. Okay. Today I’m not asking
                you any legal questions. I have no interest in getting your input on
                legal issues.”

                Q. (BY MR. SHEASBY) Question: “So when you say ‘essential to
                DDR5 products’, do you mean essential to DDR5 standard as set out
                by JEDEC?”

                Answer: “Yeah. I don’t know that I can -- if I can comment on the
                standard because I’m not -- I’m not designated on JEDEC.”

 (Id. at 65:4–16, 67:1–6 (Milton).)

        [FF 70]     Mr. Milton agreed with the representation Netlist made in its Second

 Supplemental Interrogatory Responses from December 19, 2022 that the ’339, ’918, and ’054

 patents “are necessarily infringed by the use, sale, offer for sale, or other deposition [sic] of a

 DDR4 LRDIMMs and DDR5 LRDIMMs and RDIMMs that are in compliance with the

 specification of JEDEC standards and subsequent revisions,” stating “[a]t that time I think that was

 correct.” (Dkt. No. 537 at 51:10–25 (Milton).)

        [FF 71]     Mr. Milton also testified at the bench trial that Netlist does not perform a formal

 analysis before disclosing its patents as essential in licensing communications. (Dkt. No. 537 at

 67:16–22 (Milton) (“Q. Does Netlist do an element-by-element analysis in which it compares its

 claims to the standard before -- A. No -- I’m sorry. Q. -- before disclosing its patents as essential?

 A. No, we don’t. You know, I did talk to our head of licensing Eric Lucas, who is our VP of

 licensing, and he confirmed that for me--we do not do that.”).

        [FF 72]     At a deposition of Netlist’s CEO, Mr. Chuck Hong, during fact discovery,

 Netlist presented Samsung with a set of notes which state “To the extent Netlist contends that any

 of the asserted claims of the Asserted Patents are essential to a standard, the basis for Netlist’s

 proposed FRAND royalty calculation. Expert analysis required for SEP determination. Netlist

 has not performed a formal SEP analysis[.] LRDIMM, DDR5 and HBM cannot be made


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 commercial viable with Netlist technology.” (Dkt. 514-14 (PX1822) at 2; see also Dkt. No. 537

 at 69:11–70:3 (Milton).)

        [FF 73]     The close of fact discovery and the deadline to serve opening expert reports in

 this case was December 22, 2022. (Dkt. 109 at 3.)

        [FF 74]     On November 10, 2022, Samsung supplemented its interrogatory responses to

 contend that the asserted patents are not essential. (Dkt. No. 537 at 1–6.) By December 19, 2022,

 Netlist had supplemented its interrogatory responses to assert that essentiality of the asserted

 patents was “irrelevant in this case because the objective evidence demonstrates that Samsung

 infringes.” (Id. at 44:14–24.) Although Netlist never explicitly spelled this out, Netlist essentially

 conceded that the asserted patents are not standard essential.

        [FF 75]     When Netlist’s expert Dr. Mangione-Smith served his opening report, Mr.

 McAlexander testified that he believed, based on Dr. Mangione-Smith’s report, that Netlist still

 believed the asserted patents were essential. (Dkt. No. 537 at 76:16–21, 98:6–11, 111:7–13

 (McAlexander).)

        [FF 76]     In Netlist’s pretrial briefing, Netlist represented that its experts would not argue

 the asserted patents are essential, but rather, Netlist planned to show infringement on an element-

 by-element basis relying on the features of Samsung’s accused products. For example, in its

 Motion to Strike Portions of the Rebuttal Expert Report of Paul K. Meyer filed on February 3,

 2023, Netlist stated:

                Netlist’s experts will not argue that the patents are essential to and
                therefore infringed by any entity practicing the standard. Instead,
                Netlist will show on an element by element bases why Samsung’s
                specific accused designs infringe. In other words, the jury will not
                make a determination of whether the patents-in-suit are essential or
                not essential; the jury will only determine whether Samsung
                infringes and how much Samsung owes in damages for its
                infringement.

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 (Dkt. No. 214 at 6.)

         [FF 77]       On March 10, 2023, during the briefing of the parties’ motions in limine, Netlist

 affirmatively stated it was not contending that the asserted patents were essential. (Dkt. No. 379

 (Netlist Motions in Limine) at 1 (“[N]either side’s experts are proving or disputing infringement

 by claiming the patents are essential to the JEDEC standard”), 11 (“But RAND obligations attach

 to standard-essential patents (“SEP”), and in this case, no expert contends that any of the Asserted

 Patents are SEPs.”).)

         [FF 78]       At the pre-trial conference on March 28 and 29 and April 6, 2023, Netlist’s

 counsel stated that the ’918, ’054, and ’339 patents were not essential. (Dkt. No. 537 at 59:10–19

 (Milton).) The following statements were made by Netlist’s counsel:

                    MR. SHEASBY: And so the evidence that we will show is that none
                    of these patents are standard essential patents.

 (Dkt. No. 426 at 142:23–24.)

                    MR. SHEASBY: One of the issues that is -- I think Samsung is
                    attempting to inject into this case is sort of a suggestion in front of
                    the jury that we acted improperly with JEDEC. And obviously since
                    standard essentiality is not in this case, we don’t believe that any
                    sort of allegations of impropriety in front of JEDEC have a place in
                    front of this jury.

 (Id. at 218:16–22.)

                    These patents aren’t standard essential.

 (Id. at 220:16.)

                    But regardless of whether those two go to the jury on actual notice,
                    we think we -- we intend to present a robust defense to marking
                    because we believe these patents are not standard essential and --
                    and rely -- and Samsung is using them specifically.

 (Id. at 144:25–145:4.)

                    The second issue is because the Court had concluded yesterday that
                    no one’s making a standard essentiality claim for these patents, any

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                discussion of behavior in JEDEC and patenting the technology that
                was being developed by JEDEC is just an ad hominem because he
                agrees that JEDEC -- the patents are not standard essential, and our
                expert agrees that the patents are not standard essential as well. So
                based on that, I don’t see any -- listen. Is it possible to come up with
                some theoretical way in which the jury could care about the way
                JEDEC is -- operates and Netlist’s role in JEDEC? Yeah. If you
                stretch things far enough, they can say, Oh, it relates to damages, it
                relates to infringement. But that is so tenuous in comparison to the
                toxicity of talking to us about copying from JEDEC based on
                meetings we attended. There is actually no validity allegation that
                we copied from JEDEC left in the case. There’s no non-
                infringement allegation based on JEDEC in the case because these
                patents are standard essential. So a clever lawyer will say there’s
                something that this relates to, but any relationship beyond laches and
                inequitable conduct is so attenuated that I think on the balance of --
                the balancing test it should be stricken.

 (Dkt. No. 427 at 127:16–128:12.)

                MR. SHEASBY: Sure. These patents are not standard essential.
                There’s no obligation to disclose a patent that’s not standard
                essential. There’s no allegation from a legal -- in front of the jury
                that goes to whether we complied with our obligations to JEDEC,
                because we have no obligations to JEDEC because they’re not
                essential. The MIL should be granted.

 (Id. at 199:25–200:6.)

        [FF 79]     At the time of trial, Netlist asserted infringement based on a comparison of the

 claims of the asserted patents to Samsung’s accused products.

        [FF 80]     Netlist asserted claims 1, 8 and 9 of the ʼ339 Patent. Claim 1 is independent

 and claims 8 and 9 each depend from claim 1. Claim 1 recites, in part: “wherein the byte-wise

 data path includes first tristate buffers, and the logic in response to the module control signals is

 configured to enable the first tri-state buffers to drive the respective byte-wise section of the N-bit

 wide write data to the respective module data lines during the first time period.” ’339 Patent at

 19:62–67.




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        [FF 81]    To prove infringement of the tri-state buffer limitation of the ’339 Patent,

 Netlist’s infringement expert, Dr. Mangione-Smith relied on testimony of the corporate designee

 of Renesas concerning buffers used in the accused Samsung DDR4 LRDIMM products in

 combination with a Renesas datasheet (JTX0020). (Dkt. No. 488 at 6–22.)

        [FF 82]    Samsung designated Seung-Mo Jung as its corporate representative on

 “technical topics related to DDR4 LRDIMMs.” (Dkt. No. 537 at 128:18-20 (Seung-Mo Jung) (“Q.

 You’ve been designated to speak on behalf of Samsung as to technical topics relating to DDR4

 LRDIMMs? A. That’s correct.”).

        [FF 83]    Mr. Jung was shown the JEDEC specification for the DDR4 LRDIMM buffers

 and testified that when Samsung tests its products for compliance with JEDEC standards, it

 addresses compliance with operations. (Id. at 129:13 (Seung-Mo Jung) (“We test to test the

 operations that are defined by JEDEC.”).

        [FF 84]    Mr. Jung testified that the JEDEC standards do not specify tri-state buffers:

               Q. And you understand that JEDEC specifies a tri-state buffer for
               the DBs?

               A. Let me check. If you could tell me where in JEDEC it is
               specified? I’m going to check that part.

               Q. Let’s go to the DDR4 data buffer standard logic diagram 4.6.1.

               A. Okay. Please go ahead.

               Q. The DB standard JEDEC standard specifies the use of tri-state
               buffers. Those are the TX and RX triangles on the right-hand side
               of this document.

               A. To the extent of my knowledge, it doesn’t specify here that these
               are related to tri-state buffers.

 (Id. at 129:14-25 (Seung-Mo Jung).)




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        [FF 85]     Samsung’s technical expert, Mr. McAlexander, confirmed that Samsung’s

 corporate representative, Mr. Jung, testified that the JEDEC standard does not specify tri-state

 buffers. (Id. at 101:1–9 (McAlexander) (“Q. And Mr. Jung testifies that JEDEC standard doesn’t

 specify tri-state buffers. Correct? A. That is what Mr. Jung stated, yes. Q. And Mr. Jung was

 Samsung’s corporate representative under oath. Correct? A. I can’t deny that. He was. Q. And

 you understand the claims of the ʼ339 strictly require the use of a tri-state buffer. Correct? A.

 Yes, they do.”).

        [FF 86]     Netlist asserted claims 1, 5, 13, 16, 18, and 19 of the ʼ918 Patent. Claim 1 is

 independent and claims 5 and 13 depend directly or indirectly from claim 1. Claim 16 is

 independent and claims 18 and 19 depend directly or indirectly from claim 16.

        [FF 87]     Netlist asserted claims 16 and 17 of the ’054 Patent. Claim 16 is independent

 and claim 17 depends from claim 16.

        [FF 88]     Each of the asserted independent claims of the ’918 and ’054 Patents recite, in

 some variation “first, second, and third buck converters configured to receive a pre-regulated input

 voltage and to product first, second and third regulated voltages, respectively” and “a converter

 circuit configured to reduce the pre-regulated input voltage to provide a fourth regulated voltage,

 wherein the first second, third and fourth regulated voltages have first, second, third, and fourth

 voltage amplitudes, respectively.” ’918 Patent at 39:60–67.

        [FF 89]     To prove infringement of the first, second, and third buck converters, and the

 converter circuit, Netlist’s infringement expert, Dr. Mangione-Smith relied on JTX-11 and JTX-

 12 (datasheets for PMIC for DDR5 DIMMs) and JTX-30 (Renesas datasheet for PMIC). (Dkt.

 No. 488 at 334:24–337:10.) Dr. Mangione-Smith referenced a LDO of the accused product as




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 meeting the claimed “converter circuit.” (Id. at 335:5–7.) Dr. Mangione-Smith also testified that

 to the extent the LDO does not literally infringe, it is equivalent. (Id. at 337:11–21.)

        [FF 90]     At the bench trial, Netlist presented the testimony of Mr. Kyungsoo Park, the

 technical leader for DDR5 PMICs at Samsung. (Dkt. No. 537 at 130:13–19 (Kyungsoo Park) (“Q.

 What is your position at Samsung LSI? A. TL. Q. What does TL stand for? A. Technical leader.

 Q. You said you are a technical leader. In which project or which group are you the technical

 leader for? A. I am in the group that works on PMIC for the DDR5.”).

        [FF 91]     Mr. Park was shown a JEDEC PMIC specification, which Mr. McAlexander

 relied on to assert that an LDO is required by the standard, and Mr. Park testified that Samsung’s

 DDR5 modules both comply with the JEDEC PMIC specification but do not implement the

 portions of the PMIC specification Mr. McAlexander claimed are required. (Dkt. No. 537 at

 130:20–24 (Kyungsoo Park); 77:21–78:7 (McAlexander).) Mr. Park testified that Samsung does

 not implement Vbias using an LDO as set out in the PMIC Specification Mr. McAlexander

 presented to the Court and identified above:

                Q. I have one question for you on Exhibit number 2, page 13
                [JTX0069-0013] that’s on the screen right now. In section 2.1.1, the
                last bullet point says: “3 LDO regulators: VBias, VOUT_1.8V,
                VOUT_1.0V.” Do you see that?

                A. Yes, I see it.

                Q. Okay. Do you recall your testimony earlier that in Samsung’s
                PMIC, the voltage regulator that generates VBias is not an LDO?
                Do you recall that testimony?

                A. Yes, I recall.

 (Id. at 130:20–131:3 (Kyungsoo Park).)

        [FF 92]     Mr. Park then explained that compliance with the JEDEC standards for DDR5

 did not require the presence of the particular regulators recited in the specifications, only that


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 certain output voltages are available. As a result, Samsung could comply with the required

 portions of the DDR5 JEDEC standard without implementing the portion of the JEDEC PMIC

 specifications that Mr. McAlexander showed at the bench trial and Mr. Park discussed at his

 deposition:

               Q. So in one respect, Samsung does deviate from the standard in that
               it does not use LDO to generate VBias in two of its PMICs; is that
               correct?

               A. No.

               Q. Why isn’t the use of switch capacitor regulator instead of LDO a
               deviation from the JEDEC standard?

               A. When I said ‘JEDEC standard’, I meant it to be the numbers that
               are defined by the JEDEC standard. However, what type being
               used, that is not considered to be a standard.

               THE CHECK INTERPRETER: It might be slightly different.

               “So when I said JEDEC standards, what I meant was something that
               it is to be defined using numbers in terms of min and max. And as
               to what type is being used here, that would not be my interpretation
               of the JEDEC standards.”

               Q. For topic No. 78, is it your testimony that Samsung’s DDR5
               PMICs implement all sections of the JEDEC PMIC standards?

               A. Yes, it is correct that Samsung’s DDR5 PMIC complies with
               JEDEC’s specifications.

               Q. And you cannot identify any sections of the JEDEC PMIC
               standards that Samsung’s DDR5 PMICs that do not implement.
               Correct?

               A. Yes, that’s correct.

 (Id. at 131:9–132:5 (Kyungsoo Park).)

        [FF 93]    Samsung contends that but for Netlist’s misrepresentation that it was pursuing

 a standards-based infringement theory, Samsung would have presented additional evidence

 supporting its noninfringement and damages defenses. For example, Samsung claims that Mr.


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      Halbert would have testified that Netlist was obligated to license its potentially essential patents

      on RAND terms. (Dkt. No. 537 at 14:7–11 (Halbert).) Further, Mr. Halbert would have testified

      as to Samsung’s contributions to JEDEC as compared to Netlist’s. (Id. at 19:12–20:9.)

             [FF 94]     Samsung also contends that but for Netlist’s misrepresentation, Mr. Alexander

      would have testified that the accused products do not infringe based on the technical operations

      defined in the JEDEC standards. (Id. at 98:6–11, 111:7–19 (McAlexander).) Further, Mr.

      McAlexander would have testified that Samsung designed its products in order to comply with

      JEDEC standards, not because Samsung was “desperate” for Netlist’s technology, as Netlist

      argued at trial. (Id. at 95:2–25.) Mr. McAlexander would have also explained that technical

      descriptions in the JEDEC standards are sufficient for analyzing infringement of standard-

      compliant products, countering Netlist’s argument that he was “crooked” for not reviewing source

      code of Samsung’s products. (Id. At 96:1–19.) Samsung contends that several fact witnesses

      would have also testified that the operation of the accused products was designed to follow the

      JEDEC standards, not because Samsung was desperate for Netlist’s technology. (Id. at 35:18–22,

      36:21–23 (Hyun-Joong Kim); id. at 39:1–12, 40:1–6 (Lo); id. at 42:10–17 (Davey).)

             [FF 95]     Samsung contends that but for Netlist’s misrepresentation, Mr. Meyer,

      Samsung’s damages expert, would have testified as to RAND obligations for the ’918, ’054, and

      ’339 Patents. (Id. at 112:21–119:24 (Meyer).)

II.      CONCLUSIONS OF LAW

             [CL 1]      “In an action tried on the facts without a jury . . . , the court must find the facts

      specially and state its conclusions of law separately.” Fed. R. Civ. P. 52(a)(1). “If a party has

      been fully heard on an issue during a nonjury trial and the court finds against the party on that

      issue, the court may enter judgment against the party on a claim or defense that, under the



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 controlling law, can be maintained or defeated only with a favorable finding on that issue.” Fed.

 R. Civ. P. 52(c).

        [CL 2]       The purpose of these findings is to “afford[] . . . a clear understanding of the

 ground or basis of the decision of the trial court.” S. S. Silberblatt, Inc. v. U.S. for Use & Benefit

 of Lambert Corp., 353 F.2d 545, 549 (5th Cir. 1965) (internal quotation marks omitted); see also

 Schlesinger v. Herzog, 2 F.3d 135, 139 (5th Cir. 1993) (explaining that trial courts need not “recite

 every piece of evidence” or “sort through the testimony of . . . dozen[s] [of] witnesses”).

        [CL 3]       In making a particular finding, the district court “does not . . . draw any

 inferences in favor of the non-moving party and . . . [instead] make[s] a determination in

 accordance with its own view of the evidence.” Fairchild v. All Am. Check Cashing, Inc., 815

 F.3d 959, 964 n.1 (5th Cir. 2016) (internal quotation marks omitted). However, a district court

 still must arrive at each of its factual determinations based on the applicable burden of proof. In

 re Medrano, 956 F.2d 101, 102 (5th Cir. 1992) (reversing the district court because it applied the

 preponderance of the evidence standard rather than the clear and convincing standard in making

 its factual determinations under Rule 52).

    A. Equitable Estoppel

        [CL 4]       Equitable estoppel is a complete defense to patent infringement.              A.C.

 Aukerman Co. v. R.L. Chaides Constr. Co., 960 F.2d 1020, 1041 (Fed. Cir. 1992). Equitable

 estoppel bars a patentee’s right to relief where: “(1) the patentee, through misleading conduct (or

 silence), leads the alleged infringer to reasonably infer that the patentee does not intend to enforce

 its patent against the alleged infringer; (2) the alleged infringer relies on that conduct; and (3) the

 alleged infringer will be materially prejudiced if the patentee is allowed to proceed with its claim.”

 Radio Sys. Corp. v. Lalor, 709 F.3d 1124, 1130 (Fed. Cir. 2013). In the context of SSOs, the first

 two prongs are met where first “the patentee had a duty of disclosure to the standard setting
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 organization” and second “the patentee breached that duty.” Hynix Semiconductor Inc. v. Rambus

 Inc., 645 F.3d 1336, 1348 (Fed. Cir. 2011); see also Barnes & Noble, Inc. v. LSI Corp., 849 F.

 Supp. 2d 925, 939 (N.D. Cal. 2012) (“[I]t is reasonable to infer reliance by the IEEE based on the

 IEEE’s policies requiring disclosure and requiring it to obtain assurances regarding any patents

 relevant to proposed standards[.]”); Momenta Pharms., Inc. v. Amphastar Pharms., Inc., 255 F.

 Supp. 3d 279, 289 (D. Mass. 2017.)

        [CL 5]      The alleged infringer must “show by clear and convincing evidence that . . . (1)

 the patentee had a duty of disclosure to the standard setting organization, and (2) the patentee

 breached that duty.” Hynix, 645 F.3d at 1348.

        [CL 6]      To prevail on an affirmative defense of equitable estoppel, the accused infringer

 must first prove that the patentee breached an affirmative duty of disclosure “because without a

 disclosure duty, [the patent challenger] could not ‘reasonably infer’ that [the patent owner] did not

 intend to enforce its patents against it, and without a breach of that duty, [the patent owner’s]

 nondisclosure could not be ‘misleading conduct.’” Hynix, 645 F.3d at 1348; see also Genband,

 211 F. Supp. 3d at 899 (“[T]here is no equitable estoppel if . . . there was no breach of an existing

 duty to disclose the patent.”). The requisite “misleading conduct can include ‘specific statements,

 action, inaction, or silence where there was an obligation to speak.’” Sycamore IP Holdings LLC

 v. AT&T Corp., 294 F. Supp. 3d 620, 655 (E.D. Tex. 2018) (quoting Hynix, 645 F.3d at 1348)).

        [CL 7]      Based on the findings of fact and applicable legal standards discussed above,

 the Court finds that the doctrine of equitable estoppel does not bar Netlist’s infringement claims.

 Samsung has not demonstrated that Netlist had a duty to disclose the ’918 and ’054 Patents, at

 least based on the testimony of Mr. Martinez, Netlist’s Representative in JEDEC committees, who




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 was not shown to have personal knowledge of any Netlist patents that were essential or potentially

 essential to any JEDEC standard.

        [CL 8]      Samsung has not identified any other individual having a duty of disclosure

 with respect to essential or potentially essential patents personally known to such individual that

 Netlist could have violated.

    B. Prosecution Laches

        [CL 9]      Prosecution laches is an equitable affirmative defense to patent infringement.

 Hyatt v. Hirshfeld, 998 F.3d at 1347, 1359–60 (Fed. Cir. 2021); Cancer Rsch. Tech. Ltd. v. Barr

 Labs., Inc., 625 F.3d 724, 729 (Fed. Cir. 2010). If found, prosecution laches may “render a patent

 unenforceable when it has issued only after an unreasonable and unexplained delay in prosecution

 that constitutes an egregious misuse of the statutory patent system under a totality of the

 circumstances.” Hyatt, 998 F.3d at 1360 (quoting Cancer Rsch., 625 F.3d at 728).

        [CL 10]     The Federal Circuit has explained that “the doctrine of prosecution laches

 places an additional, equitable restriction on patent prosecution conduct beyond those imposed by

 statute or PTO regulation.” Hyatt, 998 F.3d at 1366. “An applicant must therefore not only comply

 with the statutory requirements and PTO regulations but must also prosecute its applications in an

 equitable way that avoids unreasonable, unexplained delay that prejudices others.” Id.

        [CL 11]     Prosecution laches as a defense to infringement requires proof of two elements:

 (a) that the patentee’s delay in prosecution was unreasonable and inexcusable under the totality of

 the circumstances; and (b) that the accused infringer or the public suffered prejudice attributable

 to the delay. Hyatt, 998 F.3d at 1362 (citing Cancer Rsch., 625 F.3d at 728–29).

        [CL 12]     To establish prejudice, an accused infringer must show evidence of intervening

 rights, in the sense that “either the accused infringer or others invested in, worked on, or used the

 claimed technology during the period of delay.” Cancer Rsch., 625 F.3d at 731.
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        [CL 13]     This Court has previously applied the clear and convincing evidence standard

 when the enforceability of an issued patent is challenged for prosecution laches. Personalized

 Media Commc’ns, LLC v. Apple, Inc., 552 F. Supp. 3d 664, 685–86 (E.D. Tex. 2021) (“PMC”);

 SynQor, Inc. v. Artesyn Techs., Inc., 2011 WL 2729214, at *8 (E.D. Tex. July 11, 2011); Centocor

 Ortho Biotech, Inc. v. Abbott Labs., 669 F. Supp. 2d 756, 771 (E.D. Tex. 2009), rev’d on other

 grounds, 636 F.3d 1341, 1353 (Fed. Cir. 2011). This is consistent with the presumption of validity,

 and with the application of the clear and convincing evidence standard to other invalidity and

 unenforceability defenses.    See 35 U.S.C. § 282(a) (presumption of validity), § 282(b)(1)

 (unenforceability is a defense to patent infringement); Am. Hoist & Derrick Co. v. Sowa & Sons,

 Inc., 725 F.2d 1350, 1358–59 (Fed. Cir. 1984) (the burden under § 282 “is constant and never

 changes and is to convince the court of invalidity by clear evidence”), abrogated on other grounds,

 Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d 1276, 1290–91 (Fed. Cir. 2011) (abrogating

 the “sliding scale” approach to inequitable conduct but nonetheless maintaining the clear and

 convincing evidence standard); see also Radio Corp. of Am. v. Radio Eng’g Labs., 293 U.S. 1, 8

 (1934) (Cardozo, J.) (“[O]ne otherwise an infringer who assails the validity of a patent fair upon

 its face bears a heavy burden of persuasion, and fails unless his evidence has more than a dubious

 preponderance.”); contra Hyatt, 998 F.3d at 1370–71 (applying a preponderance of the evidence

 standard in a de novo civil action to obtain a patent under § 145). The Federal Circuit has also

 confirmed that the PTO may issue laches rejections during prosecution. In re Bogese, 303 F.3d

 1362, 1367–68 (Fed. Cir. 2002). Where the PTO has not, it is presumed to have acted correctly.

 Consistent with these principles, and its prior practice, the Court applies the clear and convincing

 evidence standard to prosecution laches when raised as a complete defense to patent infringement.




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        [CL 14]     As discussed below, the Court finds that Samsung has failed to meet its burden

 on at least the first element of laches: “that the patentee’s delay in prosecution was unreasonable

 and inexcusable under the totality of the circumstances.” See Hyatt, 998 F.3d at 1360.

        [CL 15]     Whether an applicant’s delay is unreasonable is a fact-intensive inquiry that

 depends on the specific circumstances. Id. at 1366–67. Determinations of unreasonable delay are

 not limited to the specific patent application in question; rather, “an examination of the totality of

 the circumstances, including the prosecution history of all of a series of related patents and overall

 delay in issuing claims, may trigger laches.” Id. at 1362; Symbol Techs., Inc. v. Lemelson Med.,

 Educ. & Rsch. Found., LP, 422 F.3d 1378, 1385 (Fed. Cir. 2005) (“Symbol II”).

        [CL 16]     In Symbol II, the Federal Circuit gave non-exclusive examples of reasonable

 and unreasonable delays. Examples of reasonable delays include (i) filing a divisional application

 in response to a restriction requirement—even immediately before issuance of the parent

 application; (ii) refiling an application to present new evidence of an invention’s unexpected

 advantages; and (iii) refiling an application to add subject matter to attempt to support broader

 claims as the development of an invention progresses. Symbol II, 422 F.3d at 1385; Hyatt, 998

 F.3d at 1361–62. The Federal Circuit noted that an applicant may refile an application for other

 reasons, “provided that such refiling is not unduly successive or repetitive.” Symbol II, 422 F.3d

 at 1385. In contrast, the court in Symbol II stated, “refiling an application solely containing

 previously-allowed claims for the business purpose of delaying their issuance can be considered

 an abuse of the patent system.” Symbol II, 422 F.3d at 1385.

        [CL 17]     There are no “firm guidelines” for when laches is triggered, and the

 determination is left to the district court’s careful consideration as a matter of equity. Symbol II,

 422 F.3d at 1385. Yet, the Federal Circuit has found instructive two prior Supreme Court cases



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 finding “patents unenforceable based on eight- and nine-year prosecution delays.” Hyatt, 998 F.3d

 at 1367 (citing Woodbridge v. U.S., 263 U.S. 50, 53 (1923) (nine-and-a-half-year delay); Webster

 Elec. Co. v. Splitdorf Elec. Co., 264 U.S. 463. 465 (1924) (eight-year delay)); see also Bogese, 303

 F.3d at 1369 (eight-year delay); Symbol II, 422 F.3d at 1385 (citing Woodbridge and Webster).

        [CL 18]     This Court recently found that prosecution laches applied in a case where the

 patentee “sought 30 to 50 years of patent protection and it obtained exactly that.” PMC, 552 F.

 Supp. 3d at 689. In PMC, the Court noted that the asserted “claims will expire 34 years after the

 application was filed, 42 years after the 1987 specification, and 48 years after the 1981 parent

 application.” Id. The Court concluded that “[d]elays of this magnitude did not occur by accident

 and do not occur when an applicant reasonably pursues prosecution.” Id.

        [CL 19]     In this case, Netlist’s prosecution of the ’918 and ’054 Patent claims—including

 its decision of when and how to prosecute disclosed inventions and their embodiments, such as

 those directed to hybrid memory and those that are not—does not amount to an “unreasonable and

 unexplained delay in prosecution that constitutes an egregious misuse of the statutory patent

 system under the totality of the circumstances” so as to warrant a finding of prosecution laches.

 See Cancer Rsch., 625 F.3d at 728–29.

        [CL 20]     Netlist’s prosecution of the ’918 and ’054 Patent family is different from the

 aforementioned cases where prosecution laches was found. Unlike the patentees in Hyatt and

 PMC, for example, Netlist did not bulk-file hundreds of patent applications with hundreds of

 thousands of claims to “unduly increase[] the administrative burden on the PTO” in an effort to

 artificially inflate the life of its patents. Hyatt, 998 F.3d at 1370; PMC, 552 F. Supp. 3d at 687.

 The ’918 and ’054 Patents are not submarine patents that have “been in the patent office for an

 extended period of time—intentionally or otherwise.” PMC, 552 F. Supp. 3d at 671 (internal



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 quotations omitted); [FF 28]–[FF 46]. To the contrary, Netlist sought, and was granted, expedited

 prosecution for the ’918 and ’054 Patents, which resulted in issuance just over a year after Netlist

 filed its applications. [FF 42].

        [CL 21]     The prosecution history of the ’918 and ’054 Patent family further indicates that

 Netlist showed at least some reasonable diligence in prosecuting each of the patent applications

 that arose from the disclosure set forth in the ’918 and ’054 Patent family specification from the

 time Netlist first filed its initial application in 2008. [FF 28]–[FF 43]. Samsung does not point to

 any “unexplained gap” in the prosecution history of the ’918 and ’054 Patent family because

 Netlist continuously filed patent applications between 2008 to the present day—i.e., Netlist was

 not “sitting on its hands.” Id.; SynQor, 2011 WL 2729214, at *6.

        [CL 22]     Samsung’s argument that Netlist improperly expanded the scope of its

 applications in 2019, which led to the ’918 and ’054 Patents covering products beyond hybrid

 memory is unavailing. The jury, in finding Netlist’s patents valid and infringed by Samsung’s

 DDR5 products, has rejected Samsung’s lack of written description arguments. (Dkt. 479 at 5.)

 This Court is bound by jury’s fact finding in making determinations of Samsung’s equitable

 defenses as to overlapping factual issues. HTC Corp. v. Telefonaktiebolaget LM Ericsson, 407 F.

 Supp. 3d 631, 635–36 (E.D. Tex. 2019), aff’d, 12 F.4th 476 (5th Cir. 2021) (“Where there are

 overlapping factual issues that relate to a claim tried to a jury and a claim to be resolved by the

 court, the court must conduct the jury proceeding first and defer to the jury’s finding on any

 overlapping factual issues.” (quoting Beacon Theatres, Inc. v. Westover, 359 U.S. 500, 510 (1959);

 Thermo-Stitch, Inc. v. Chemi-Cord Processing Corp., 294 F.2d 486, 490 (5th Cir. 1961))). Thus,

 Samsung cannot rely on the change of direction of the claims from hybrid technology to non-

 hybrid technology as basis to show any alleged delay in the prosecution of the ’918 and ’054



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 patents was unreasonable. See Seagen, 2022 WL 2789901, at *6 (prosecution laches based on a

 “position that a reasonable patent applicant would view the invention of the [asserted] Patent as

 limited to [one particular embodiment]” fails where that position is inconsistent with the jury’s

 findings regarding written description).

        [CL 23]     Samsung’s argument that Netlist’s prosecution of the ’918 and ’054 Patent

 claims unreasonably followed the discussions of DDR5 PMIC specifications in JEDEC is similarly

 unavailing. The Federal Circuit and courts in this District have found that “[t]here is nothing

 unusual or improper about drafting claims to cover a competitor’s product, as long as there is a

 basis in the pending application,” even if that claim has never appeared before in the family.

 Seagen, 2022 WL 2789901, at *7 (quoting SynQor, 2011 WL 2729214, at *7); see also PIN/NIP,

 Inc. v. Platte Chem. Co., 304 F.3d 1235, 1247 (Fed. Cir. 2002) (“[I]t is legitimate to amend claims

 or add claims to a patent application purposefully to encompass devices or processes of others.”)

 Similarly, here, there was nothing atypical or unreasonable in Netlist filing claims directed towards

 emerging DDR5 technology.

        [CL 24]     Samsung relies heavily on an alleged 13 to 14-year gap between the filing of

 the priority application and the issuance of the ʼ918 and ’054 Patent claims. (See e.g., Dkt. No.

 509 at 5–7; Dkt. No. 537 at 248:17–249:21 (Milton).) However, prosecution laches is not simply

 a time-counting exercise. See [CL 15]–[CL 18]; see also Seagen, 2022 WL 2789901, at *7. The

 Court is tasked with conducting an analysis of Netlist’s prosecution conduct by evaluating the

 totality of the circumstances. Hyatt, 998 F.3d at 1360. In performing that analysis, the Court

 declines to find that Netlist’s “delay in prosecution was unreasonable and inexcusable under the

 totality of the circumstances.” Importantly, Netlist has done nothing to extend its patent term. [FF

 42]. Use of the patent prosecution process to extend the patent term is an important commonality



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 amongst cases finding prosecution laches. [CL 16]–[CL 18]. However, Samsung has not shown

 that Netlist took some action to extend the term of the patents at issue. Nor has Samsung shown

 that Netlist improperly delayed the prosecution of patents in the family. Rather, Netlist sought

 expedited review of at least the ’918 and ’054 Patents.           Further, Samsung’s own expert

 acknowledged that the practice of pursuing continuation applications was acceptable, [FF 53], and

 the jury has already rejected Samsung’s lack of written description argument. [FF 55].

        [CL 25]     The Court finds that Samsung has failed to establish, by clear and convincing

 evidence, “that the patentee’s delay in prosecution was unreasonable and inexcusable under the

 totality of the circumstances.” Accordingly, the first element of prosecution laches is not met, so

 the Court need not address the second element.

    C. Unclean Hands

        [CL 26]     Unclean hands applies when the misconduct of “one coming for relief has

 immediate and necessary relation to the equity that he seeks in respect of the matter in litigation.”

 Keystone Driller Co. v. Gen. Excavator Co., 290 U.S. 240, 245 (1933). It “necessarily gives wide

 range to the equity court’s use of discretion in refusing to aid the unclean litigant.” Precision

 Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 815 (1945). “Any one of these

 acts—lying, unethical business conduct, or litigation misconduct—would be sufficient to invoke

 the doctrine of unclean hands.” Gilead Scis., Inc. v. Merck & Co, Inc., No. 13-cv-04057, 2016

 WL 3143943, at *27 (N.D. Cal. June 6, 2016), aff’d, 888 F.3d 1231 (Fed. Cir. 2018)

        [CL 27]     A party asserting an unclean hands defense “bears the burden of proving by

 clear and convincing evidence that [the patent holder] acted with unclean hands.”              In re

 Omeprazole Patent Litig., 483 F.3d 1364, 1374 (Fed. Cir. 2007). This defense is “reserved for

 extreme circumstances.” Erfindergemeinschaft UroPep GbR v. Eli Lilly & Co., 2017 WL 275465,

 at *7 (E.D. Tex. Jan. 20, 2017). Examples of such include a showing that the patent holder has
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 engaged in “egregious misconduct,” such as “perjury,” “suppression of evidence,” “manufacture

 . . . of evidence,” or “bribery.” Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d 1276, 1293

 (Fed. Cir. 2011); see also Erfindergemeinschaft, 2017 WL 275465, at *7 (“[T]he defendant ‘must

 show that the patentee conducted itself as to shock the moral sensibilities of the judge, or . . . that

 the patentee’s conduct was offensive to the dictates of natural justice.’”). Further, the alleged

 misconduct must have an “immediate and necessary relation” to the patents-in-suit, i.e., it must

 “have enhanced the claimant’s legal position as to either the creation or enforcement of the legal

 right at issue.” Gilead Scis., Inc. v. Merck & Co., 888 F.3d 1231, 1239-40 (Fed. Cir. 2018).

        [CL 28]     Gilead provides an illustrative example of the sort of egregious conduct that

 constitutes unclean hands.      There, the patentee deliberately “violat[ed] a clear ‘firewall’”

 agreement when it improperly used information that one of its scientists had obtained from another

 company to file narrowed patent claims. Id. at 1240. This misconduct had the effect of “expediting

 patent issuance and for lowering certain invalidity risks.” Id. at 1241. At deposition, this scientist

 deliberately lied about his participation in the call and then gave additional “intentionally false”

 testimony both at deposition and at trial in support of the patentee’s validity positions. Id. at 1244.

 Because the scientist’s violation of the firewall played a “significant role” (id. at 1243) in the

 patentee’s acquisition of the patents at issue and his subsequent false testimony had “significant

 potential to give [the patentee] an advantage in the litigation,” the court concluded that the patentee

 had acted with unclean hands. Id. at 1247.

        [CL 29]     An unclean hands defense further requires proof that the offending conduct

 materially prejudiced a party’s ability to defend itself. See Midwestern Cattle Mktg., L.L.C. v.

 Legend Bank, N.A., 800 Fed. App’x 239, 246 (5th Cir. 2020) (“[T]he unclean hands defense is

 inapplicable altogether where the plaintiff’s sins do not affect or prejudice the defendant.”)



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 (quoting Bank of Saipan v. CNG Fin. Corp., 380 F.3d 836, 842 (5th Cir. 2004)); Republic Molding

 Corp. v. B.W. Photo Utilities, 319 F.2d 347, 349–50 (9th Cir. 1963) (in applying the unclean hands

 defense, “the extent of actual harm caused by the conduct in question” is “a highly relevant

 consideration”); PenneCom B.V. v. Merrill Lynch & Co., Inc., 372 F.3d 488, 493 (2d Cir. 2004)

 (unclean hands defense requires proof that the plaintiff “has injured the party attempting to invoke

 the doctrine”).

        [CL 30]       Samsung’s unclean hands defense is based on Netlist’s disclosure on its change

 in position, which Netlist contends occurred during fact discovery (see [FF 73]–[FF 74]), and

 which Samsung contends occurred shortly before trial in Netlist’s briefing on its motions in limine

 (see [FF 76]).

        [CL 31]       Federal Rule of Civil Procedure 26(e) sets out the obligation for

 supplementation that must occur when a party learns that information in an interrogatory is

 incomplete or incorrect:

                   A party who has made a disclosure under Rule 26(a) —or who has
                   responded to an interrogatory, request for production, or request for
                   admission—must supplement or correct its disclosure or response:

                   (A) in a timely manner if the party learns that in some material
                   respect the disclosure or response is incomplete or incorrect, and if
                   the additional or corrective information has not otherwise been
                   made known to the other parties during the discovery process or in
                   writing; . . . .

 Fed. R. Civ. P. 26(e)(1)(A).

        [CL 32]       In this case, to the extent Netlist changed its position regarding the essentiality

 of the ’339, ’918, and ’054 Patents, the Court does not find that such change in position constitutes

 litigation misconduct. As discussed in section I.D above, there was at least some factual basis for

 Netlist to allege that the patents are not standard essential based on the testimony of Samsung’s

 technical witnesses. [FF 80]–[FF 92]. Netlist took the initial position that the ’339, ’918, and ’054

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 Patents were standards essential, and as of November 21, 2022, Netlist still represented to Samsung

 that Netlist’s asserted claims of the patents were “[E]ssential [P]atent [C]laims” as defined by

 JEDEC manual No. 21T, Section 8.2.1. [FF 63]. However, Netlist thereafter supplemented its

 relevant interrogatory response to state “[a]s to whether there’s a theoretical way of implementing

 the standards without using Netlist patents, that is irrelevant in this case because the objective

 evidence demonstrates that Samsung infringes.” [FF 64]. Although cryptic, Netlist’s disclosure

 at least conveys the message that it believed Samsung’s products infringed, without reliance on a

 standards-based shortcut to prove infringement. Samsung thus proceeded at its own risk by

 assuming that Netlist was still asserting a standards-based theory of infringement.

        [CL 33]     Netlist’s actions in this case, even if involving “underhanded” conduct as

 alleged by Samsung, are not the kind of egregious misconduct for which courts have found unclean

 hands, nor do they shock the Court’s moral sensibilities as is required to find unclean hands.

 Further, Samsung has not shown by clear and convincing evidence that Netlist’s actions have an

 immediate and necessary relation to Netlist’s infringement claims for the ’339, ’918, and ’054

 patents.

    [CL 34]     As the Federal Circuit explained in Gilead:

                The Supreme Court has articulated the governing legal standard. In
                Keystone Driller Co. v. General Excavator Co., the Court explained
                that a determination of unclean hands may be reached when
                ‘misconduct’ of a party seeking relief ‘has immediate and necessary
                relation to the equity that he seeks in respect of the matter in
                litigation,” i.e., ‘for such violations of conscience as in some
                measure affect the equitable relations between the parties in respect
                of something brought before the court.’ 290 U.S. 240, 245, 54 S.Ct.
                146, 78 L.Ed. 293 (1933). In Precision Instrument Manufacturing
                Co. v. Automotive Maintenance Machinery Co., the Court stated that
                the doctrine ‘closes the doors of a court of equity to one tainted with
                inequitableness or bad faith relative to the matter in which he seeks
                relief, however improper may have been the behavior of the
                defendant,’ and requires that claimants ‘have acted fairly and

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                without fraud or deceit as to the controversy in issue.’ 324 U.S. 806,
                814–15, 65 S.Ct. 993, 89 L.Ed. 1381 (1945).

 Gilead, 888 F.3d at 1239–40.

        [CL 35]     The “immediate and necessary relation” standard requires that the alleged

 misconduct must “have enhanced the claimant’s legal position as to either the creation or

 enforcement of the legal rights at issue.” Gilead, 888 F.3d at 1240.

        [CL 36]     In support of its unclean hands argument, Samsung has pointed to certain

 evidence and defenses it developed for trial but was prevented from presenting due to Netlist’s

 misrepresentation that it was pursuing a standards-based infringement theory. [FF 93]–[FF 95].

 The Court does not find that Samsung has presented clear and convincing evidence supporting the

 assertion that Netlist’s misrepresentation “has immediate and necessary relation to the equity that

 [Netlist] seeks in respect of the matter in litigation.” See Gilead, 889 F.3d at 1239.
    .   [CL 37]     In sum, the Court does not find that the doctrine of unclean hands bars Netlist’s

 infringement claims for the ’339, ’918, and ’054 Patents.



        The parties are directed to jointly prepare a redacted version of this Order for public

 viewing and to file the same on the Court’s docket as an attachment to a Notice of Redaction within

 five (5) business days of this Order.


        So ORDERED and SIGNED this 11th day of August, 2023.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE


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